
The PRESIDENT
delivered the opinion of the court.
The debt claimed by the appellee, originated before the year 1776. The only evidence produced by him, respecting a quantity of molasses delivered by him, to the distillery at Norfolk, on account of the appellant, is, his own books, and oath.
The^appellant in his answer, having denied, that this article was delivered by his direction, the oath, and books of the appel-lee, (in no case admissible, to charge a person with goods delivered by order to a third person, unless such order be otherwise proved,) ought not to have been admitted as evidence, to prove that article. And as there is no other testimony, to charge the appellant therewith, except his own admission, and a consent to be charged upon certain conditions, it ought to be made upon the terms of that concession, and should operate only so far against him.
Another charge exhibited by the appel-lee, is of sugar and wine, delivered on board a vessel of the appellant’s, to the master thereof, for safe keeping; and this, is proved by an entry on the books of the ap-pellee, made b3T his clerk, who is not now to be found; together with the oath of the appellee, to ascertain the quantity. This sort of evidence, tho’ admissible in the cise of a sale and delivery of goods, is not proper in this case, to charge the appellant with those articles, delivered for safe keeping, to the master of the appellant’s vessel; since there is no evidence, that any part of them, came to his hands, except, what the answer admits — and therefore, this admission ought to be the rule by which the charge should be regulated.
As to the question of interest, this court, without controverting the general piinciples stated in the decree, are of opinion, that as the accounts in question were unliqidated, and disputed ’"'between the parties; they might have been adjusted, (notwithstanding the absence of the appellant,) with George Kerr his partner, or agent; or if such a connection were doubtful, an attachment bill might have been filed, at any time, for that purpose.
tTuder these circumstances, interest ought not to commence, but from the institution of this suit.
Decree reversed.
